         Case 3:17-cv-00538-RNC Document 186 Filed 10/06/20 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

 MATTHEW D. WILLIAMS,                          )
 on behalf of plaintiff and a class,           )
                                               )
                         Plaintiff,            )
                                               )
                 vs.                           )
                                               )       17-CV-538-RNC
 RUSHMORE LOAN MANAGEMENT                      )
 SERVICES, LLC;                                )
 MCCALLA RAYMER LEIBERT                        )
 PIERCE, LLC, successor by merger to           )
 Hunt Leibert Jacobson, P.C.; HUNT             )
 LEIBERT JACOBSON, P.C., and                   )
 GMAT LEGAL TITLE TRUST 2013-1,                )
 also known as GMAT 2013-1 TRUST,              )
 by U.S. BANK, NATIONAL                        )
 ASSOCIATION,                                  )
                                               )
                             Defendants.       )       October 6, 2020

                                 STIPULATION OF DISMISSAL

        Plaintiff Matthew D. Williams (“Plaintiff”) and Defendants Rushmore Loan Management

Services, LLC, McCalla Raymer Leibert Pierce, LLC, Hunt Leibert Jacobson, P.C. and GMAT

Legal Title Trust 2013-1 (collectively, “Defendants”), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii)

hereby stipulate to the dismissal of Plaintiff’s individual claims with prejudice and without costs.

Plaintiff dismisses his class claims without prejudice and without costs.


Respectfully submitted,

Plaintiff Matthew D. Williams

By: /s/ Heather Kolbus
Daniel A. Edelman
dedelman@edcombs.com
Cathleen M. Combs
ccombs@edcombs.com
Heather Kolbus

                                                   1
        Case 3:17-cv-00538-RNC Document 186 Filed 10/06/20 Page 2 of 3




hkolbus@edcombs.com
EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, IL 60603
(312) 739-4200
courtecl@edcombs.com

Joanne S. Faulkner
faulknerlawoffice@snet.net
123 Avon Street
New Haven, CT 06511
(203) 772-0395

Defendants Rushmore Loan Management Services, LLC and GMAT Legal Title Trust 2013-1

By: /s/ Donald E. Frechette (w/ consent)
Donald E. Frechette
Donald.frechette@lockelord.com
Locke Lord LLP
20 Church Street, 20th Floor
Hartford, CT 06103
(860) 525-5065

Defendant McCalla Raymer Leibert Pierce, LLC and Hunt Liebert Jacobson

By: /s/ Stephen P. Brown (w/ consent)
Stephen P. Brown
Stephen.brown@wilsonelser.com
Andrea Strain
Andrea.Strain@wilsonelser.com
Wilson, Elser, Moskowitz, Edelman & Dicker, LLP
1010 Washington Blvd.
Stamford, CT 06901
(203) 388-9100




                                           2
        Case 3:17-cv-00538-RNC Document 186 Filed 10/06/20 Page 3 of 3




                               CERTIFICATE OF SERVICE

        I, Heather Kolbus, hereby certify that on October 6, 2020, I caused a true and accurate
copy of the foregoing document to be filed with the Court’s CM/ECF system, which caused
notice via email to be sent to the following parties:

       Donald E. Frechette - Donald.frechette@lockelord.com
       Tara L. Trifon - tara.trifon@lockelord.com
       Locke Lord LLP
       20 Church Street, 20th Floor
       Hartford, CT 06103

       Stephen Brown - Stephen.brown@wilsonelser.com
       Andrea Strain -andrea.strain@wilsonelser.com
       Nicole Cuglietto - Nicole.cuglietto@wilsonelser.com
       Wilson, Elser, Moskowitz, Edelman & Dicker, LLP
       1010 Washington Blvd.
       Stamford, CT 06901

       Joanne S. Faulkner - faulknerlawoffice@snet.net
       123 Avon Street
       New Haven, CT 06511


By: s/Heather Kolbus
Daniel A. Edelman
dedelman@edcombs.com
Cathleen M. Combs
ccombs@edcombs.com
Heather Kolbus
hkolbus@edcombs.com
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, IL 60603
(312) 739-4200
courtecl@edcombs.com

Joanne S. Faulkner
faulknerlawoffice@snet.net
123 Avon Street
New Haven, CT 06511
(203) 772-0395




                                               3
